Case 2:18-cv-00634-MSD-DEM Document 12 Filed 03/01/19 Page 1 of 3 PageID# 62



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

VICTOR GILMORE

Plaintiff,

                                       v.                   Civil No.: 2:18cv634


TARIQ K. LOUKA, ESQUIRE

And

RESULTS UNLIMITED, INC.

And

EMERALD POINT APARTMENTS

Defendants.


             MOTION TO QUASH SERVICE OF PROCESS AND TO DISMISS

        COMES NOW, Emerald Point, LLC, by counsel, and specially appears and moves the

Court pursuant to Rules 12(b)(4) and (5) to quash the service of process made on its Registered

Agent and to dismiss the Complaint for lack of proper service and personal Jurisdiction as set

forth in the accompanying memorandum of law.

                              NOTICE TO PRO SE PLAINTIFF:

       In accordance with Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), take notice and

be warned that a motion dispositive of this action has been filed. As such:

       (1) The pro se party is entitled to file a response opposing the motion and that any such

response must be filed within twenty-one (21) days of the date on which the dispositive or

partially dispositive motion is filed; and
Case 2:18-cv-00634-MSD-DEM Document 12 Filed 03/01/19 Page 2 of 3 PageID# 63



        (2) The Court could dismiss the action on the basis of the moving party's papers if the pro

se party does not file a response; and

        (3) The pro se party must identify all facts stated by the moving party with which the pro

se party disagrees and must set forth the pro se party's version of the facts by offering affidavits

(written statements signed before a notary public and under oath) or by filing sworn statements

(bearing a certificate that it is signed under penalty of perjury); and

(4) The pro se party is also entitled to file a legal brief in opposition to the one filed by the

moving party.



                                                _______/s/________________
                                                P. Todd Sartwell, Esquire VSB#71428
                                                Dickerson & Smith Law Group
                                                115 South Lynnhaven Road
                                                Virginia Beach, VA 23452
                                                (757) 463-4900/(757) 463-3521 (fax)
                                                todd@daviddickerson.com
                                                Counsel for Emerald Point, LLC



                                  CERTIFICATE OF SERVICE

I hereby certify that on the 1st day of March, 2019, I will electronically file the foregoing with the
Clerk of Court using the CM/ECF system, which will then send a notification of such filing
(NEF) to the following:

Alan Brody Rashkind, Esquire
Virginia State Bar No. 12658
James A. Cales III, Esquire
Virginia State Bar No. 41317
Furniss, Davis, Rashkind and Saunders, P.C.
6160 Kempsville Circle, Suite 341B
Post Office Box 12525
Norfolk, Virginia 23541-0525
Telephone No. (757) 461-7100
Facsimile No. (757) 461-0083
Email: jcales@furnissdavis.com
Case 2:18-cv-00634-MSD-DEM Document 12 Filed 03/01/19 Page 3 of 3 PageID# 64




Victor Gilmore
507 High street apt.706
Portsmouth, VA 2370

Ronald Scott Canter
The Law Offices of Ronald S. Canter, LLC
200A Monroe Street Suite 104
Rockville, MD 20850
(301) 424-7490
Fax: (301) 424-7470
rcanter@roncanterllc.com

                                           _______/s/________________
                                           P. Todd Sartwell, Esquire VSB#71428
                                           Dickerson & Smith Law Group
                                           115 South Lynnhaven Road
                                           Virginia Beach, VA 23452
                                           (757) 463-4900/(757) 463-3521 (fax)
                                           todd@daviddickerson.com
                                           Counsel for Emerald Point, LLC
